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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS, et al.,

Plaintiffs,

v.                                           Case No. 25-cv-239

OFFICE OF MANAGEMENT AND
BUDGET, et al.,

Defendants.



                                    NOTICE

      Pursuant to this Court’s May 12, 2025 Minute Order, Plaintiffs advise that, in

reliance on the administrative record produced by Defendants on May 27, Plaintiffs

do not intend to submit requests for additional discovery at this time.     Should

Defendants seek to rely at summary judgment on evidence they did not put forward

in the administrative record, Plaintiffs may seek leave for discovery under Rule

56(d)(2) at that time.




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Dated: June 10, 2025           Respectfully submitted,

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